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                            UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                       MDL No. 2741
LIABILITY LITIGATION
                                              Case No. 16-md-02741-VC


This document relates to:                     PRETRIAL ORDER NO. 306: ORDER
                                              GRANTING IN PART AND DENYING
Collins v. Monsanto Co.,                      IN PART MONSANTO'S MOTION TO
Case No. 3:20-cv-01419-VC                     EXCLUDE EXPERT MILLER
                                              Re: Dkt. No. 18963
Kay v. Monsanto Co.,
Case No. 3:21-cv-00175-VC

Glassman v. Monsanto Co.,
Case No. 3:20-cv-00024-VC

Iona v. Monsanto Co.,
Case No. 3:20-cv-02404-VC

Berenfeld v. Monsanto Co.,
Case No. 3:18-cv-01428-VC

Proctor v. Monsanto Co.,
Case No. 3:21-cv-00172-VC

Belfleur v. Monsanto Co.,
Case No. 3:20-cv-00621-VC

Thompson v. Monsanto Co.,
Case No. 3:20-cv-08851-VC

Holmes v. Monsanto Co.,
Case No. 3:20-cv-03363-VC



    Monsanto’s motion to exclude Thomas Miller is granted in part and denied in part. This
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ruling assumes the reader’s familiarity with the facts, the applicable legal standard, the prior

Daubert rulings in this MDL, and the arguments made by the parties. See generally In re

Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order

No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D.

Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d

941 (9th Cir. 2021).

       All but one plaintiff, Collins, withdrew Miller as an expert after Monsanto filed its

motion. See Notice of Withdrawal, Dkt. No. 19383. Accordingly, Monsanto’s motion is denied

as moot as to plaintiffs Kay, Glassman, Iona, Berenfeld, Proctor, Belfleur, Thompson, and

Holmes.

       That leaves one live dispute: Monsanto’s challenge to Miller’s qualifications to opine

about the health outcomes and effects of glyphosate exposure. See Monsanto Reply (Dkt. No.

19531) at 1. Collins argues that the Court already rejected this argument in PTO No. 290, which

noted that the challenged exposure quantification expert’s reliance on epidemiological studies

was limited to examining the kinds of exposure metrics used in the studies. See PTO No. 290

(Dkt. No. 18320) at 3. If Miller’s report here contained a similarly limited use of the

epidemiological studies it cites, Collins might be correct. But Miller’s report strays too far into

interpretation, claiming that recent studies show a link between glyphosate exposure and NHL,
and that Collins’ exposure to glyphosate put him at a high risk for adverse health effects. Miller

is not a doctor, a medical toxicologist, an epidemiologist, an oncologist, or otherwise qualified to

opine about the effects of Roundup exposure in the human body. Therefore, Monsanto’s motion

is granted as to that testimony. Miller may still testify about quantifying plaintiff’s exposure to

Roundup, which Monsanto does not challenge.

       IT IS SO ORDERED.

Dated: January 14, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge



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